Case 1:10-cv-00593-GMS Document 746 Filed 12/20/12 Page 1 of 8 PageID #: 11708


  Case 1:10-cv-00593-GMS Document 725 Filed 12/18/12 Page 1 of 8 PageiD #: 11195




                    IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF DELAWARE

  FINJAN, INC.,                              )
                                             )
                                             )
                     Plaintiff,              )
                                             )
              v.                             )
                                             )    C.A. No. 10-cv-593 (GMS)
  SYMANTEC CORP., WEBSENSE, INC.,            )
  and SOPHOS, INC.,                          )
                                             )
                     Defendants.             )
                                             )
                                             )
                                             )
                                             )



                                  SPECIAL VERDICT FORM ·
Case 1:10-cv-00593-GMS Document 746 Filed 12/20/12 Page 2 of 8 PageID #: 11709


  Case 1:10-cv-00593-GMS Document 725 Filed 12/18/12 Page 2 of 8 PageJD #: 11196



  A.    Finjan, Inc.'s Infringement Claims Against Symantec Corp.

  Literal Infringement of U.S. Patent No. 6,480,962

         I. Do you find that Finjan has proven by a preponderance of the evidence that Symantec
            directly and literally infringes any of the asserted claims ofU.S. Patent No.
            6,480,962? A "yes" isafindingforFinjan, a "no" isafindingforSymantec.


               YES _ _                      NO    'f.
               [If you answered "Yes" to Question I], please mark the claims you found to be
               infringed:

               Claim 1:              ClaimS:               Claim 6:
               Claim 12:             Claim 15:             Claim 33:
               Claim 37:             Claim 38:             Claim 45:
               Claim 52:             Claim 55:

  Literal Infringement of U.S. Patent No. 6,092,194

        2. Do you find that Finjan has proven by a preponderance ofthe evidence that Symantec
           directly and literally infringes any of the asserted claims of U.S. Patent No.
           6,092, 194? A "yes " is a finding for Finjan, a "no" is a finding for Symantec.


               YES _ _                      NO    i'
               [If you answered "Yes" to Question 2], please mark the claims you found to be
               infringed:

               Claim 1:              Claim2:               Claim 32:
               Claim 35:             Claim 36:             Claim 37:
               Claim 58:             Claim 65:             Claim 66:
Case 1:10-cv-00593-GMS Document 746 Filed 12/20/12 Page 3 of 8 PageID #: 11710


 Case 1:10-cv-00593-GMS Document 725 Filed 12/18/12 Page 3 of 8 PageiD #: 11197



  B.     Finjan, Inc.'s Infringement Claims Against Sopbos Inc.

  Literal Infringement of U.S. Patent No. 6,480,962

        3. Do you find that Finjan has proven by a preponderance of the evidence that Sophos
           directly and literally infringes any of the asserted claims of U.S. Patent No.
           6,480,962? A "yes" is a finding for Finjan, a "no" is a finding for Sophos.

               YES _ _                      NO )(

               [If you answered "Yes" to Question 3], please mark the claims you found to be
               infringed:

               Claim 1:              Claim 5:             Claim 6:
               Claim 12:             Claim 21:            Claim 33:
               Claim 37:             Claim 38:            Claim 45:
               Claim 52:

  Literal Infringement of U.S. Patent No. 6,092,194

        4. Do you find that Finjan has proven by a preponderance of the evidence that Sophos
           directly and literally infringes any of the asserted claims of U.S. Patent No.
           6,092,194? A "yes" is afindingfor Finjan, a "no" is afindingfor Sophos.

               YES _ _                      NO   X
               (lfyou answered "Yes" to Question 4], please mark the claims you found to be
               infringed:

               Claim 1:              Claim 2:             Claim 32:
               Claim 35:             Claim 36:            Claim 37:
               Claim 58:             Claim 65:            Claim 66:




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Case 1:10-cv-00593-GMS Document 746 Filed 12/20/12 Page 4 of 8 PageID #: 11711


  Case 1:10-cv-00593-GMS Document 725 Filed 12/18/12 Page 4 of 8 PagelD #: 11198



   C.     Finjan, Inc.'s Infringement Claims Against Websense, Inc.

   Literal Infringement of U.S. Patent No. 6,092,194

          5. Do you find that Finjan has proven by a preponderance of the evidence that Websense
             directly and literally infringes any of the asserted claims of U.S. Patent No.
             6,092,194? A "yes" is afindingfor Finjan, a "no" is afindingfor Websense.

                 YES _ _                      NO       i-
                 [If you answered "Yes" to Question 5], please mark the claims you found to be
                 infringed:

                Claim 1:              Claim2:               Claim 32:

                 Claim 35:            Claim 36:             Claim 37:
                Claim 58:             Claim 65:             Claim 66:




   Willful Infringement

         6. If you answered "Yes" to Question 5, was Websense's infringement willful?

                YES _ _                       NO   X




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Case 1:10-cv-00593-GMS Document 746 Filed 12/20/12 Page 5 of 8 PageID #: 11712


 Case 1:10-cv-00593-GMS Document 725 Filed 12/18/12 Page 5 of 8 PageiD #: 11199



  D.    Defendants' Patent Invalidity Defenses Against Finjan

  Anticipation of U.S. Patent No. 6,092,194

        7. Do you find that any of the Defendants have proven by clear and convincing evidence
           that any ofthe asserted claims of U.S. Patent No. 6,092,194 are invalid because they
           are anticipated by prior art? A "yes" is a finding for Defendants, a "no" is a finding
            forFinjan.

                YES ~X,____                   NO_ __

                a. [If you answered "Yes" to Question 7], please identify the claims you found
                to be anticipated by prior art:

                Claim    1:~         Claim2:L_              Claim 32: X
                                                                      __
                Claim 35: _].._      Claim 36: _f._         Claim 37: _K_
                Claim 58: _X_        Claim 65: )(           Claim 66:   K.

  Obviousness of U.S. Patent No. 6.092.194

        8. Do you find that any of the Defendants have proven by clear and convincing evidence
           that any ofthe asserted claims ofU.S. Patent No. 6,092,194 are invalid because the
           prior art makes them obvious? A "yes" is a finding for Defendants, a "no" is a
            finding for Finjan.

                YES      f.                   NO_ __

                a. [If you answered "Yes" to Question 8], please identify the claims you found
                to be obvious:

                Claim l:_L_          Claim 2: _6_           Claim 32:    '!.
                Claim 35: _b_        Claim 36: _)(_         Claim 37: _)(_
                Claim 58: _1,__       Claim 65:    l(       Claim 66: _K_




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Case 1:10-cv-00593-GMS Document 746 Filed 12/20/12 Page 6 of 8 PageID #: 11713


  Case 1:10-cv-00593-GMS Document 725 Filed 12/18/12 Page 6 of 8 PageiD #: 11200



   Anticipation of U.S. Patent No. 6,480,962

         9. Do you find that either Symantec or Sophos have proven by clear and convincing
            evidence that any of the asserted claims of U.S. Patent No. 6,480,962 are invalid
            because they are anticipated by prior art? A "yes " is a finding for Symantec and
            Sophos, a "no" is a finding for Finjan.

                YES     X                      NO_ __

                a. [lfyou answered "Yes" to Question 9], please identify the claims you found to
                be anticipated by prior art:

                Claim l:_L_           Claim 5:         J(    Claim 6: _?(_
                Claim 12: __,zL_      Claim 15:_1S__         Claim 21: ...E._
                Claim 33: __£___      Claim 37:_X_           Claim38:~

                Claim 45:   -t-       Claim 52:         ;(   Claim 55:   ')(

   Obviousness of U.S. Patent No. 6,480,962

         10. Do you find that either Symantec or Sophos have proven by clear and convincing
             evidence that any of the asserted claims of U.S. Patent No. 6,480,962 are invalid
             because the prior art makes them obvious? A "yes" is a finding for Symantec and
             Sophos, a "no" is afindingfor Finjan.

                YES_X;....___                  NO_ __

                a. [Ifyou answered "Yes" to Question 10], please identify the claims you found
                to be obvious:

                Claim 1: 25__         Claim 5:    ;(         Claim 6: A.__
                Claim 12: _x_         Claim 15: J(           Claim 21: ;<.
                                                  --                  --
                Claim 33: _t<_        Claim 37: _.1_         Claim 38:
                                                                      -X-
                Claim 45:   >(        Claim 52:        1<.   Claim 55: X
                                                                      --




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Case 1:10-cv-00593-GMS Document 746 Filed 12/20/12  Page 7 of 8 PageID #: 11714


  Case 1:10-cv-00593-GMS Document 725 Filed 12/18/12 Page 7 of 8 PageiD #: 11201



  E.    Damages for Fin jan's Patent Infringement Claims against Symantec

        11. If you have found that the claims ofU.S. Patent No. 6,092,194 and U.S. Patent No.
            6,480,962 asserted against Symantec are either invalid or not infringed by Symantec,
            then you need not address damages as to Symantec. If, however, you have found at
            least one claim of either patent to be both valid and infringed by Symantec, what
            damages do you find that Finjan has proven by a preponderance of the evidence?

           Lump sum royalty: $_ _ _ _ _ _ _ __

           OR

           Royalty rate:             %._ _ _ _ __

           Royalty base:             $_ _ _ _ __

           Total Damages:     $_ _ _ _ __



  F.    Damages for Finjan's Patent Infringement Claims against Sophos

        12. If you have found that the claims of U.S. Patent No. 6,092,194 and U.S. Patent No.
            6,480,962 asserted against Sophos are either invalid or not infringed by Sophos, then
            you need not address damages as to Sophos. If, however, you have found at least one
            claim of either patent to be both valid and infringed by Sophos, what damages do you
            find that Finjan has proven by a preponderance of the evidence?

           Lump sum royalty: $_ _ _ _ _ _ _ __

           OR

           Royalty rate:             %._ _ _ _ __

           Royalty base:             $_ _ _ _ __

           Total Damages:     $_ _ _ _ _ _




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    Case 1:10-cv-00593-GMS Document 746 Filed 12/20/12 Page 8 of 8 PageID #: 11715
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      Case 1:10·CV·00593-GMS Document 725 Filed 12/18/12 Page 8 of 8 PageiD #: 11202




      G.    Damages for Finjan's Patent Infringement Claims against Websense

            13. If you have found that the claims of U.S. Patent No. 6,092,194 asserted against
                Websense are either invalid or not infringed by Websense, then you need not address
                damages as to Websense. If, however, you have found at least one claim of U.S.
                Patent No. 6,092,194 to be both valid and infringed by Web sense, what damages do
                you find that Finjan has proven by a preponderance of the evidence?
               Lump sum royalty: $._ _ _ _ _ _ _ __

               OR

               Royalty rate:             %._ _ _ _ __

               Royalty base:             $_ _ _ _ __

               Total Damages:    $._ _ _ _ __




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